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                                            July 1, 2022


VIA CM/ECF & E-MAIL
doty_chambers@mnd.uscourts.gov
The Honorable David S. Doty
United States District Court of Minnesota
316 North Robert Street
St. Paul, MN 55101

        Re:     Walsh, et al. v. Buchholz, et al., Civil No. 0:19-cv-1856 (DSD/HB)

Dear Judge Doty,

        The undersigned represents Defendants Frank Ramirez, Brent Keele, Stephen Tebo, Jerry
Morgensen, James Parke, Joseph Scofield, III, St. Renatus, LLC and SR Merger Sub, LLC
(collectively, the “St. Renatus Defendants”) in the above-referenced lawsuit. Pursuant to the
Amended Scheduling Order (Doc. 104), the St. Renatus Defendants will be filing a Motion for
Summary Judgment on or before July 8, 2022. The St. Renatus Defendants submit this letter to
respectfully request an expansion of the 12,000 word limit applicable to the Memorandum of Law
in support of the St. Renatus Defendants’ Motion for Summary Judgment pursuant to LR
7.1(f)(1)(D).

        Rather than file separate Summary Judgment Motions and Memoranda of Law for each of
the eight St. Renatus Defendants, the St. Renatus Defendants intend to file a combined Motion for
Summary Judgment and related brief. Further, the record is voluminous as there have been 25 fact
witness depositions, 7 expert witness depositions, and over 330 deposition exhibits marked in this
case. Given the scope of the factual record and expert discovery, as well as the intent to combine
the briefing of eight Defendants into a single combined brief, the St. Renatus Defendants
respectfully request a total of 24,000 words for their combined Motion for Summary Judgment,
which pursuant to LR 7.1, will include any Reply brief.

                                                     Sincerely,

                                                     /s/ Suzanne Jones

                                                     Suzanne L. Jones

cc:     All counsel of record
